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Andrew Frisch

From: Paulsen, Erik (USANYE) <Erik.Paulsen@usdoj.gov>
Sent: Friday, March 10, 2023 1:20 PM

To: Andrew Frisch

Subject: Witness Addition

Hi Andy,

We have one more addition to the witness list—Jess Morales Rocketto, who was (like Lloyd Cotler) involved in
the HRC campaign and involved in text related outreach. I’m going to flag it for Judge Reyes as a person lists
of names.

Erik

Erik Paulsen

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